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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - -X

UNITED STATES OF AMERICA                 :
                                                25'(5
                -v-                      :
                                              &5 3$(
WILLIAM KNOX,                        :

                      Defendant.         :

- - - - - - - - - - - - - - - - - -X

           IT IS HEREY ORDERED that, as stipulated and agreed by

all parties during the telephone conference held on July 27,

2020, as reflected in the minute entry on the public docket for

those proceedings dated July 27, 2020, and for the reasons

discussed in the parties’ letter dated July 21, 2020 and at the

July 27, 2020 conference, the electronic monitoring condition

that is currently one of the terms of defendant William Knox’s

supervised release is REMOVED, and the condition that Knox must

remain in his residence unless granted permission to leave it by

the Probation Department is SUSPENDED, as of July 27, 2020.

Dated:   New York, New York
              2020
         July__,


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                                 _________________________________
                                    Hon. Paul A. Engelmayer
                                    UNITED STATES DISTRICT JUDGE
